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15

16                                UNITED STATES DISTRICT COURT
17                             NORTHERN DISTRICT OF CALIFORNIA
18                                     SAN FRANCISCO DIVISION
19   URSULA FREITAS, individual, on behalf of               Case No. 3:19-cv-07270-WHA
     herself and others similarly situated,
20                                                          [PROPOSED] ORDER GRANTING
                             Plaintiffs,                    CRICKET WIRELESS, LLC’S
21                                                          MOTION TO ENFORCE TEXT-
     vs.                                                    MESSAGE AND ELECTRONIC-
22                                                          SIGNATURE ARBITRATION
     CRICKET WIRELESS, LLC,                                 AGREEMENTS OF POTENTIAL
23                                                          CLASS MEMBERS
                             Defendant.
24                                                          Date: February 24, 2022
                                                            Time: 8:00 a.m.
25                                                          Courtroom: 12, 19th Floor
26
                                                            Judge: Hon. William H. Alsup
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           [PROPOSED] ORDER GRANTING CRICKET’S MOTION TO ENFORCE TEXT-MESSAGE AND ELECTRONIC-SIGNATURE
                                   ARBITRATION AGREEMENTS; NO. 3:19-CV-07270-WHA
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 1           After consideration of the Motion to Enforce Text-Message and Electronic Signature

 2   Arbitration Agreements of Potential Class Members (the “Motion”) brought by Defendant

 3   Cricket Wireless, LLC (“Cricket”), the Memorandum of Points and Authorities in support

 4   thereof, the declarations and exhibits in support thereof, the pleadings, files, and records of this

 5   matter, and having heard the arguments of counsel, the Motion is GRANTED.

 6           IT IS ORDERED that the following potential class members must individually arbitrate

 7   their claims in accordance with their arbitration agreements and thus are excluded from the class

 8   in this action:

 9               •     the potential class members listed in Exhibit C to the Declaration of Gary W.

10                     Braxton, who agreed to arbitration by paying for additional prepaid wireless

11                     service from Cricket after receiving the May 22, 2014 text messages regarding

12                     Cricket’s updated arbitration provision;

13               •     the potential class members listed in Exhibit E to the Braxton Declaration, who

14                     executed electronic signatures to assent to Cricket’s arbitration provision in

15                     connection with online purchases; and

16               •     the potential class members listed in Exhibit F to the Braxton Declaration, who

17                     executed electronic signatures to assent to Cricket’s arbitration provision in

18                     connection with in-store transactions.

19

20           Dated: ____                             ___________________________________
                                                     HON. WILLIAM H. ALSUP
21                                                   UNITED STATES DISTRICT JUDGE
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                                                        1
         [PROPOSED] ORDER GRANTING CRICKET’S MOTION TO ENFORCE TEXT-MESSAGE AND ELECTRONIC-SIGNATURE
                                 ARBITRATION AGREEMENTS; NO. 3:19-CV-07270-WHA
